              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,
             v.                                   Crim. No. 09-00188-12-CR-W-BCW

DAUOD L. HOLMES,

                    Defendant.

                            STIPULATION AND WAIVER

      The following applies to the matter of defendant's Motion to Reduce Sentence

Pursuant to Amendment 782 of the Sentencing Guidelines, and 18 U. S.0 . § 3582(c)(2):

1.    The parties agree that the defendant is eligible for a sentence reduction pursuant to

      Sentencing Guidelines Amendment 782 and 18 U.S.C. § 3582(c)(2).

2.    The defendant's current total offense level is 29, which resulted in a Guidelines

      range of 151 to 188 months. The Government agrees that two levels should be

      deducted from that Guidelines range, and further agrees to recommend a sentence

      at the bottom of the re-calculated Guidelines range.

3.    The parties stipulate that the re-calculated total offense level is level 27, yielding a

      Guidelines range of 130 to 162 months.

4.    The parties further stipulate that a reasonable sentence would be not more than

      130 months.

5.    In consideration of the above stipulations and agreements, the defendant expressly

      waives his right to appeal his modified sentence, directly or collaterally.




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        The defendant also expressly waives his right to a full hearing on his sentence

        modification and his right to appear in person at that hearing. The defendant

        further waives any right he may have had to seek any further sentence

        modifications or reductions from the district court, including but not limited to, the

        right to invoke any of the factors set forth in 18 U.S.C. § 3553(a) in support of a

        sentence modification or reduction.

6.      The defendant expressly agrees to a modification of his sentence based solely on

        the re-calculated Guidelines.

7.      The defendant further acknowledges he has been advised that he is entitled to a

        hearing before any unfavorable changes can be made to his conditions of

        supervised release. The defendant expressly waives his right to a hearing on the

        modification of the conditions of his supervised release and agrees that he will

        reside in and satisfactorily participate in a residential reentry center program, until

        discharged by the center director after consultation with the Probation Office, for a

        period not to exceed 120 days.

8.      The defendant is eligible for release effective November 1, 2015. However, any

        earlier release date set irrespective of an Amendment 782 reduction shall control.

                                                    Tammy Dickinson
                                                    United States Attorney

Dated       7 ///3---
                                                     a      M. Counts
                                                    Assistant United States Attorney




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       I am defendant's attorney, and I have fully explained his rights to him with respect
to the sentence modification hearing. Further, I have carefully reviewed every part of
this Stipulation and Waiver with him. To the best of my knowledge, Dauod L.
Holmes's decision to enter into this Stipulation and Waiver is an informed and voluntary
one.

Dated   11 IT
                                                 Stephen C. Moss
                                                 Attorney for Defendant

       I have consulted with my attorney and fully understand all of my rights with
respect to all aspects of the sentence modification hearing. I have read this Stipulation
and Waiver and carefully reviewed every part of it with my attorney. I understand this
Stipulation and Waiver and I knowingly and voluntarily agree to it.

Dated 1) -        - J.                              12&goic-44,~J
                                                 Dauod L. Holmes
                                                 Defendant
                                    Al
       On this te         day of                           in the year 2015, before me,
personally appeared .01 d e_ -401ene,s se. known to me to be the person whose
name is subscribed to the within instrument and acknowledged that he executed the same
for the purposes therein contained. In witness whereof, I hereunto set my signature.


Dated
                                          (Please legibly print y ur Nme and sign here)
                                                Fba             SAls




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